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UNITED STATES I)ISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

TROY HUNG, Individual}y and on Behaif
Of All Others Similarly Situated,

Plaintiff,

V.

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MICHAEL XIANGYU CHEN, JUN ZOU,
ANFERNEE SONG GUAN, JEFFREY
LYNDON KO, STEVEN XIAOYI MA,
ERHAI LIU, MINGYAO WANG, DAVlD
YUAN, CREDIT SUISSE SECURITIES
(USA) LLC, J.P. MORGAN SECURITIES
LLC, STIFEL, NICOLAUS & COMPANY,
INCORPORATED, and PIPER JAFFRAY
& CO.,

Defendants.

 

 

Case N<).

CLASS ACTION COMPLAINT FOR
VIOLATIONS OF THE FEDERAL
SECURITIES LAWS

 

 

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Plaintiff Troy Hung (“Plaintiff’), by and through his attorneys, alleges the following
upon information and belief, except as to those allegations concerning Plaintiff, which are
alleged upon personal knowledge Plaintiff’s information and belief is based upon, among other
things, his eounsel’s investigation, which includes without limitation: (a) review and analysis of
regulatory filings made by iDreamSky Technology Limited (“iDreamSky” or the “Cornpany”),

with the United States Securities and Exchange Commission (“SEC”); (b) review and analysis of

 

press releases and media reports issued by and disseminated by iDrearnSky; and (c) review of
other publicly available information concerning iDreamSky.
NATURE ()F THE ACTION AND ()VERVIEW

l. This is a class action on behalf of persons or entities who purchased or otherwise
acquired iDreamSky American Depositary Shares (“ADSs”): (l) pursuant and/or traceable to the
Company’s Registration Statement and Prospectus (collectively, the “Registration Statement”)
issued in connection with the Company’s initial public offering on or about August 7, 2014 (the
“IPO” or the “Offering”); and/or (2) on the open market between August 8, 20l4 and l\/larch l3,
2015, inclusive (the “Class Period”). Plaintiff seeks to pursue remedies under the Securities Act
of 1933 (the “Securities Act”) and under the Securities Exchange Act of 1934 (the “Exchange
Act”).

2. iDreamSky is purportedly the largest independent mobile game publishing
platform in China based on the number of active users in 2013, according to Analysys
lnternational, an independent market research firm. lnternational mobile game developers grant
the Company access to the source codes of their games, purportedly allowing for greater control
and efficiency in redesigning their games for the China market. The Company distributes these

games through both its proprietary distribution channels and third-party channels, such as app

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stores and device pre-installations The Company also operates games as a service, where the
Company offers live game services and gains user insights through its multi-dimensional data
analysis engine to drive ongoing game optimization and monetization.

3. On August 7, 2014, iDreamSky priced its lPO of 7,.70(),0()0 American depositary
shares (“ADS”), with each ADS representing four Class A ordinary shares of the Company, at a

price of 3 l 5.00 per ADS, exclusive of the underwriters’ exercise of their over-allotment option to

 

purchase l, l 55,000 additional ADSs.

4. On March l3, 2015, after the market closed, the Company lowered its revenue
guidance for the fourth quarter of 2()l4 to be between RMB327.0 million (USD $52.7 million)
and RMB329.0 million (USD $53.0 million), as compared to the previously announced revenue
guidance of between RMB390.0 million (USD 362.9 million) and RMB410.0 million (USD
$66.1 million). According to the Company, the revised guidance reflected the delay of a popular
game, launched on one of the Company distribution platforms, and lower than expected revenues
from another game being launched simultaneously as other hit games on the same distribution
platform

5. On this news, ADSs of iDreamSky declined $3.60 per share, over 33%, during to
close on l\/Iarch l6, 2015 at $7.22 per share, on unusually heavy volume

6. Throughout the Class Period, Defendants made false and/or misleading
statements, as well as failed to disclose material adverse facts about the Company’s business,
operations, and prospects Specifically, Defendants made false and/or misleading statements
and/or failed to disclose: (l) that the Company had overstated its ability to monetize its user base
and effectively integrate its distribution channels; (2) that, as a result, the Company had to lower

its earnings guidance; and (3) that, as a result of the foregoing, the Company’s statements about

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its business, operations, and prospects, were materially false and misleading and/or lacked a
reasonable basis

7. As a result of Defendants’ wrongful acts and omissions, and the precipitous
decline in the market value of the Company’s securities, Plaintiff and other Class members have
suffered significant losses and damages

JURISDICTION AND VENUE

 

S. 'l`he claims asserted herein arise under and pursuant to Sections l l and 15 of the
Securities Act (l5 U.S.C. §§ 77k and 770), and Sections lO(b) and 20(a) of the Exchange Act
(l5 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (l7 C.F.R.
§ 240.10b-5).

9. ’l`his Court has jurisdiction over the subject matter of this action pursuant to 28
U.S.C. § l33l, Section 22 of the Securities Act (15 U.S.C. § 77v), and Section 27 of the
Exchange Act (15 U.S.C. §78aa).

lO. Venue is proper in this Judicial District pursuant to 28 U.S.C. §l391(b) and
Section 27 of the Exchange Act (l5 U.S.C. §78aa(c)). A significant portion of Defendants’
actions, and the subsequent damages, took place in this J udicial District.

ll. ln connection with the acts, transactions, and conduct alleged herein, Defendants
directly and indirectly used the means and instrumentalities of interstate commerce, including the
United States mail, interstate telephone communications and the facilities ofa national securities
exchange

PARTIES
l2. Plaintiff, as set forth in the accompanying certification, incorporated by reference

herein, purchased iDreamSky ADSs during the Class Period, pursuant and/or traceable to the

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Registration Statement issued in connection with the Companyis lPO, and suffered damages as a
result of the federal securities law violations and false and/or misleading statements and/or
material omissions alleged herein.

13a Defendant iDrearnSky is a China corporation with its principal executive offices
located at l6,/F, A3 Building, Kexing Science Park., 15 Keyuan Road North, l\lanshan District,

Shenzhen, Guangdong, 518057, People’s Republic of China.

 

l4. Defendant Michael Xiangyu Chen (“Chen”) was, at all relevant times, Chief
Executive Officer (“CEO”) and a director of iDreamSky.

15. Defendant Jun Zou (“Zou”) was, at all relevant times, Chief Fiancial Ot`ficer
(“CFO”) of iDreamSky.

l6. Defendant Anfernee Song Guan (“Guan”) was, at all relevant times, a director of
iDreamSky and signed or authorized the signing of the Company’s Registration Statement filed
with the SEC.

17. Defendant Jeffrey Lyndon Ko (“Ko”) was, at all relevant times, a director of
iDrearnSky and signed or authorized the signing of the Company’s Registration Statement filed
with the SEC.

lS. Defendant Erhai Liu (“Liu”) was, at all relevant times, a director of iDreamSky
and signed or authorized the signing of the Company’s Registration Statement filed with the
SEC.

l9. Defendant Steven Xiaoyi l\/Ia (“l\/la”) was, at all relevant times, a director of
iDreamSky, and signed or authorized the signing of the Company’s Registration Statement filed

with the SEC.

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20. Defendant Mingyao Wang (“Wang”) was, at all relevant times, a director of
iDreamSky, and signed or authorized the signing of the Company’s Registration Statement filed
with the SEC.

2l. Defendant David Yuan (“Yuan”) was, at all relevant times, a director of
iDreamSky and signed or authorized the signing of the Company’s Registration Statement filed

with the SEC.

 

22. Defendants Chen and Zuo are collectively referred to hereinafter as the
l“lndividual Defendants.” l`he lndividual Defendants, because of their positions with the
Company, possessed the power and authority to control the contents of iDrearnSky’s reports to
the SEC, press releases and presentations to securities analysts, money and portfolio managers
and institutional investors, i.e., the market Each defendant was provided with copies of the
Company’s reports and press releases alleged herein to be misleading prior to, or shortly after,
their issuance and had the ability and opportunity to prevent their issuance or cause them to be
corrected Because of their positions and access to material non-public information available to
them, each of these defendants knew that the adverse facts specified herein had not been
disclosed to, and were being concealed from, the public, and that the positive representations
which were being made were then materially false and/or misleading The lndividual
Defendants are liable for the false statements pleaded herein, as those statements were each
“group-published” information, the result of the collective actions of the lndividual Defendants.

23. Defendants Chen, Zuo, Guan, Ko, l\/Ia, Liu, Wang, and Yuan are collectively
referred to hereinafter as the “Section ll lndividual Defendants.”

24. Defendant Credit Suisse Securities (USA) LLC (“Credit Suisse”) served as an

underwriter and joint book-running manager of the Company’s lPO. ln the Offering, Credit

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Suisse agreed to purchase 3,272,5()0 ADSs of the Company, exclusive of the over-allotment
option.

25. Defendant J.P. Morgan Securities LLC (“J.P. l\/lorgan”) served as an underwriter
and joint book-running manager of the Company’s lPO. ln the Offering, J.P. l\/lorgan agreed to
purchase 3,272,500 ADSS of the Company, exclusive of the over-allotment option.

26. Defendant Stifel, Nicolaus & Company, Incorporated (“Stifel Nicolaus”) served

 

as an underwriter and joint book-running manager of the Company’s lPO. ln the Offering, Stifel
Nicolaus agreed to purchase 770,000 ADSs of the Company, exclusive of the over-allotment
option.

27. Defendant Piper laffray & Co. (“Piper Jaffray”) served as an underwriter and
joint book-running manager of the Company’s IPO. ln the Offering, Piper Jaffray agreed to
purchase 385,()00 ADSs of the Company, exclusive of the over-allotment option.

28. Defendants Credit Suisse, J.P. l\/lorgan, Stifel l\licolaus, and Piper Jaffray, are
collectively referred to hereinafter as the “Underwriter Defendants.”

29. The Company7 the Section ll lndividual Defendants, and the Underwriter

Defendants, are collectively referred to hereinafter as the “Section ll Defendants.”

SUBSTANTIVE ALLEGATIONS
Background
30. iDreamSky is purportedly the largest independent mobile game publishing
platform in China based on the number of active users in 2013, according to Analysys
lnternational, an independent market research firm. International mobile game developers grant
the Company access to the source codes of their games, purportedly allowing for greater control

and efficiency in redesigning their games for the China market The Company distributes these

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games through both its proprietary distribution channels and third-party channels, such as app
stores and device pre-installations 'l`he Company also operates games as a service, where the
Company offers live game services and gains user insights through its multi-dimensional data
analysis engine to drive ongoing game optimization and monetization.

3 l. On August 7, 20l4, the SEC declared effective the Form F-l that iDreamSky filed

on July 3, 20l4 and repeatedly amended, until on or about August l, 2014, when the Company

 

filed with the SEC the final Form F-l/A (collectively, the “Registration Statement”) for the lPO.

32. On August 7, 2014, iDreamSky priced its lPO of 7,700,000 American depositary
shares (“ADS”), with each ADS representing four Class A ordinary shares of the Company, at a
price of $15.00 per ADS, exclusive of the underwriters’ exercise of their over-allotment option to
purchase l,155,0()0 additional ADSs. According to the Company, the total proceeds to the
Company before discretionary incentive fees and expenses was USD $l07,415,000 after
deducting an estimated USD $8,085,()00 underwriting discounts and commissions

33. According to the Company, upon the completion of the Offering and the sale of
Class A ordinary shares to THL A19 Limited, Cheetah Mobile lnc. and LlNE Corporation iri
connection with concurrent private placements, 87,846,633 Class A ordinary shares and
81,446,120 Class B ordinary shares of the Company would be issued and outstanding

Materially False and Misleading
Statements Issued During the Class Period

34. The Class Period begins on August 7, 2014. On or about this day, the Company
filed with the SEC its lPO Prospectus (the “Prospectus”), which forms part of the Registration
Statement. Under applicable SEC rules and regulations, the Registration Statement was required
to disclose known trends, events or uncertainties that were having, and were reasonably likely to

have, an impact on the Company’s continuing operations

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35. With respect to the Company’s competitive strengths, the Registration Statement
stated, in relevant part:

The key competitive strengths of China’s mobile game publishing platforms
include the abilities to: (i) obtain high quality game content, including major hit
game titles, (ii) retain and grow a large and active user base, (iii) monetize the
user base and (iv) integrate and penetrate into distribution channels

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Our Strengths

We believe that the following strengths have been critical to our success and
differentiate us from our competitors:

0 large, fast-growing, active and loyal user base;

¢ sophisticated game operation capabilities resulting in effective user
engagement, retention and monetization;

v high-quality and diversified game portfolio;
¢ strong and trusted partnerships with game developers;
¢ unique and effective proprietary distribution channels;
¢ advanced technology infrastructure and data analysis capabilities; and
¢ visionary and experienced senior management
36. The Registration Statement also stated, in relevant part:

We are the largest independent mobile game publishing platform in China based
on the number of active users in 2013, according to the Analysys Report. ln the
first quarter of 2014, we had average MAUs of 98.3 million. We redesign and
optimize third-party gaines and deliver them to users through our proprietary
distribution channels as part of our broader publishing solution. We also
selectively acquire and develop certain games to obtain games for our portfolio on
more favorable commercial terms Our proprietary distribution channels include
in-game cross promotions and our self-operated iDreamSky Game Center and
www.uu.cc. We also operate games as a service, where we offer live game
services and gain user insights through our multi-dimensional data analysis engine
to drive ongoing game optimization and monetization. We currently offer 40
casual and mid- and hardcore mobile games of various genres.

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Our platform offers a one-stop solution, including game redesign and porting,
ongoing optimization, marketing, distribution, monetization, payment support and
user-related services ln addition to our proprietary distribution channels, we also
partner with major app stores and mobile browsers in China, such as Tencent App
Store, Qihoo 360 Mobile, 9l Wireless and UCWeb, mobile device makers and
retailers such as Lenovo, Huawei, ZTE and Suning, mobile carriers and mobile
advertising agents to distribute our games We also partner with almost all major
payment service providers in China, including all three mobile carriers and major
third-party payment service providers such as Alipay, Weixin Payments, China
UnionPay and Yeepay.

 

37. On November 25, 20l4, the Company issued a press release entitled, “il)reambky
Reports Third Quarter 20l4 Unaudited Financial Results.” Therein, the Company, in relevant
part, stated:

iDreamSky Teclmology Limited (“iDreamSky” or the “Company”)
(Nasdaq:DSKY), China’s leading independent mobile game publishing platform,
today reported unaudited financial results for the third quarter of 20l4. The
Company will host a conference call to discuss the results at 8:00 a.m. EST (or
9:0() p.rn. Beijing/Hong Kong Time) on November 25, 2014.

Quarterly Highlights

0 Total revenues were RMB294.5 million (US$48.0 millionl), up 276.2%
from the same quarter last year, and up 57.3% sequentially

v Gross profit was RMBlZ3.2 million (US$ZO.l million), up 332.()% from
the same quarter last year, and up 53.3% sequentially.

0 Net income was Rl\/IB37.4 million (US$€».l million), up 235.1% from the
same quarter of 2013, and up from a net loss of Rl\/lB116.4 million last
quarter.

o Non-GAAP adjusted net income2 was RMB56.8 million (US$9.3
million), up 401.6% from the same quarter last year, and up 75.1%
sequentially.

v Average monthly active users (“MAUS”) were 122.0 million, an increase
of27.7% from last quarter.

¢ Average monthly paying users (“MPUs”) were 7.4 million, an increase of
42.3% from last quarter.

“We are pleased to report solid top and bottom line growth in our first earnings
results as a public company,” commented l\/lr. Michael Chen, Chief Executive
Officer of iDreamSky. “Revenue increased 276.2% year-over-year as we
diversified our portfolio with the launch of more than ten new games and
expanded our pipeline by entering into strategic cooperation agreements with
globally renowned content providers such as Disney, Haltbrick and Kiloo.

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Growth in overall traffic continued, demonstrating the effectiveness of the
enhancements we made to our platform services, as well as the effectiveness of
our strategy of diversifying our portfolio and pipeline in order to attract and retain
players Our strength in big data and user behavior analysis is an important
advantage that helps us better monetize our user base and identify user trends The
launch of Fruit l\linja for Tencent also marks an important milestone for us as we
leverage these strengths to transform from ‘rnade by iDreamSky’ to ‘designed by
iDreamSky.’ We maintained our position as China’s leading independent mobile
game publishing platform during the quarter and eagerly look forward to releasing
more hit games and developing deeper relationships with content providers as a
part of our goal to create sustainable value for our shareholders over the long

 

term.”

i\/lr. Jun Zou, Chief Financial Officer of iDreamSky added, “Non-GAAP net
income during the quarter reached a record USS9.3 million, which is more than
the Company’s entire non-GAAP net income from last year. User paying ratio
increased to o.l% from 5.6% during the same period last year. We are confident
that we can continue to drive growth by the following: first, increasing our
relatively small paying users base; second, driving our ARPPU up which is
relatively low at RMBl3.2 (US$2.2) per month in the third quarter of 2014; and
third, building more strategic relationships with domestic and global content
providers which will give us a strong pipeline of new games next quarter and well
into 20l5. We will also continue to invest in strengthening our game and platform
research and development capabilities data analysis and targeted marketing.”

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Monetization

¢ Average l\/lPUs were 7.4 million, up 60.9% from 4.6 million in the third
quarter of2()l3 and 42.3% from 5.2 million in the second quarter of2014.

¢ ARPPU was RMB13.2 (US$Z.Z), up 132.4% from RMB5.7 in the third
quarter of2()l3 and up l0.5% from RMBlZ.O in the second quarter of
2014.

0 The paying ratio of the Company’s players was 6.1%, up from 5.6% in the
third quarter of2()l3 and 5.5% in the second quarter of 20l4.

The year-over-year and sequential increases in these metrics were primarily due
to the Company’s effective monetization strategies as well as its enhanced game
portfolio. The popularity of both the Company’s existing and new games is a
major factor for the enhanced monetization. The Company increased user
spending by identifying and implementing new monetization points suitable for
mobile users in China, optimizing its virtual goods merchandising strategy
through data analysis and maintaining user engagement

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38. The statements contained in 1l‘ll31-37 were materially false and/or misleading
when made because defendants failed to disclose or indicate the following: (l) that the Company
had overstated its ability to monetize its user base and effectively integrate its distribution
channels; (2) that, as a result, the Company had to lower its earnings guidance; and (3) that, as a
result of the foregoing, the Company’s statements about its business, operations and prospects,

were materially false and misleading and/or lacked a reasonable basis

 

Disclosures at the End of the Class Perioc_l_

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39. On l\/larch 13, 2015, after the market closed, the Company issued a press release
entitled, “iDreamSky Announces Updates to Fourth Quarter 2014 Guidance and US$ZO l\/lillion
Share Repurchase Program.” Therein, the Company, in relevant part, stated:

iDreamSky Technology Limited (“iDreamSky” or the “Company”)
(Nasdaq:DSKY), China’s leading independent mobile game publishing platform,
today announced updates to its previous revenue guidance for the fourth quarter
of 2014 and a share repurchase program approved by the board of directors of the
Company.

The Company estimates its revenue guidance for the fourth quarter of 2014 to be
between RMB327.0 million (US$52.7 million) and RMB329.0 million (US$53.0
million), as compared to the previously announced revenue guidance of between
RMB390.0 million (US$62.9 million) and Rl\/IB410.0 million (US$66.1 million).
This revised guidance represents an increase of between 189% and 191% on a
year-over-year basis The Company has revised its guidance mainly because, in
the fourth quarter of 2014, the launch of a popular casual game was delayed on
one of the Company distribution platforms, and the monetization of another
popular casual game was less than expected due to the simultaneous launch of
other hit games on the same distribution platform

ln addition, for the fourth quarter of 2014, the Company currently estimates that
net income will be between RMB28.0 million (US$4.5 million) and Rl\/IB30.0
million (US$4.8 million), representing an increase of between 70% and 82% on a
year-over-year basis Non~GAAP adjusted net income2 will be between Rl\/lB49.0
million (US$7.9 million) to RMBS].O million (US$S.Z million), representing an
increase of between 195% and 207% on a year-over-year basis

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As these selected estimated results are subject to the finalization of the
Company’s financial closing procedures the Company’s actual results may differ
from its current estimates

in the fourth quarter of 20l4, revenues generated from mid- and hard-core games
significantly increased, contributing to an increased average revenue per paying
user, or ARPPU.

For the first quarter of 2015, the Company expects revenue of RMB340.0 million
(US$54.8 million). Tliis forecast is based on the Company’s current view on its
recent operational results, estimated performance of its games and general market

 

conditions which may fluctuate and are subject to change

'l`he board of directors of the Company has approved a share repurchase program
whereby the Company is authorized to repurchase its outstanding American
depositary shares (the “ADSs”) representing its ordinary shares with an aggregate
value of up to US$ZO million over the next 12 months The share repurchases may
be effected on the open market at prevailing market prices and/or in negotiated
transactions off the market from time to time as market conditions warrant and
will be implemented in accordance with the Company’s securities trading policy
and applicable requirements of Rule 10b5-l and Rule 10b-18 under the U.S.
Securities Exchange Act of 1934, as amended, or other legally permissible ways
in accordance with applicable rules and regulations The Company expects to
fund the share repurchase out of its existing cash balance As of December 31,
2014, the Company had cash and cash equivalents of approximately RMB929.8
million (USSl49.9 million).

“We remain confident in China’s mobile game industry for the year 2015. We
believe we will continue to maintain our leading position in the market based on
the strength of our game portfolio and monetization strategy,” commented Mr.
Michael Chen, Chief Executive Officer of iDreamSky.

40. On this news, ADSs of iDreamSky declined $3.60 per share, over 33%, during to

close on l\/larch 16, 2015 at S7.22 per share, on unusually heavy volume.

CLASS ACTI()N ALLEGATIONS

41. Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class, consisting of all those who purchased or
otherwise acquired iDreamSky ADSs: (1) pursuant and/or traceable to the Company’s

Registration Statement and Prospectus issued in connection with the Company’s lPO on or about

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August 7, 2014, seeking to pursue remedies under the Securities Act; and!or (2) on the open
market between August 8, 2014 and March 13, 2015, inclusive, seeking to pursue remedies
under the Exchange Act; and were damaged thereby (collectively, the “Class”). Excluded from
the Class are Defendants, the officers and directors of the Company, at all relevant times,
members of their immediate families and their legal representatives heirs, successors or assigns

and any entity in which Defendants have or had a controlling interest

 

42. The members of the Class are so numerous that joinder of all members is
impracticable Throughout the Class Period, iDreamSky’s securities were actively traded on the
Nasdaq Global l\/larket (the “NASDAQ”). While the exact number of Class members is
unknown to Plaintiff at this time and can only be ascertained through appropriate discovery,
Plaintiff believes that there are hundreds or thousands of members in the proposed Class.
l\/Iillions of iDreamSky shares were traded publicly during the Class Period on the NASDAQ.
Record owners and other members of the Class may be identified from records maintained by
iDreamSky or its transfer agent and may be notified of the pendency of this action by mail, using
the form of notice similar to that customarily used in securities class actions

43. Plaintiff`s claims are typical of the claims of the members of the Class as all
members of the Class are similarly affected by Defendants’ wrongful conduct in violation of
federal law that is complained of herein.

44. Plaintiff will fairly and adequately protect the interests of the members of the
Class and has retained counsel competent and experienced in class and securities litigation

45. Common questions of law and fact exist as to all members of the Class and
predominate over any questions solely affecting individual members of the Class, Among the

questions of law and fact common to the Class are:

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{a) whether the federal securities laws Were violated by Defendants’ acts as
alleged herein;

{b) whether statements made by Defendants to the investing public during the
Class Period omitted and/or misrepresented material facts about the business, operations, and
prospects of iDreamSky; and

(c) whether the members of the Class have sustained damages and, if so, what

 

is the proper measure of damages

46. A class action is superior to all other available methods for the fair and efficient
adjudication of this controversy since joinder of all members is impracticable Furthermore, as
the damages suffered by individual Class members may be relatively small, the expense and
burden of individual litigation makes it impossible for members of the Class to individually
redress the wrongs done to them. There will be no difficulty in the management of this action as
a class action.

UNDISCLOSED ADVERSE FACTS

47. The market for iDreamSky’s securities was open, well-developed and efficient at
all relevant times. As a result of these materially false and/or misleading statements, and/or
failures to disclose, iDreamSky’s securities traded at artificially inflated prices during the Class
Period. Plaintiff and other members of the Class purchased or otherwise acquired iDreamSky’s
securities relying upon the integrity of the market price of the Company’s securities and market
information relating to iDreamSky, and have been damaged thereby.

48. During the Class Period, Defendants materially misled the investing public,
thereby inflating the price of iDreamSky’s securities, by publicly issuing false and/or misleading

statements and/or omitting to disclose material facts necessary to make Defendants’ statements,

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as set forth herein, not false and/or misleading Said statements and omissions were materially
false and/or misleading in that they failed to disclose material adverse information and/or
misrepresented the truth about iDreamSky’s business operations and prospects as alleged
herein.

49. At all relevant times the material misrepresentations and omissions particularized

in this Complaint directly or proximately caused or were a substantial contributing cause of the

 

damages sustained by Plaintiff and other members of the Class As described herein, during the
Class Period, Defendants made or caused to be made a series of materially false and/or
misleading statements about iDreamSky’s financial well-being and prospects These material
misstatements and/or omissions had the cause and effect of creating in the market an
unrealistically positive assessment of the Company and its financial well-being and prospects
thus causing the Company’s securities to be overvalued and artificially inflated at all relevant
times Defendants’ materially false and/or misleading statements during the Class Period
resulted in Plaintiff and other members of the Class purchasing the Company’s securities at
artificially inflated prices thus causing the damages complained of herein.
LOSS CAUSATION

50. Defendants’ wrongful conduct, as alleged herein, directly and proximately caused
the economic loss suffered by Plaintif`f and the Class

51. During the Class Period, Plaintiff and the Class purchased iDreamSky’s securities
at artificially inflated prices and were damaged thereby. The price of the Company’s securities
significantly declined when the misrepresentations made to the market, and/or the information
alleged herein to have been concealed from the market, and/or the effects thereof, were revealed,

causing investors’ losses

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SCIENTER ALLEGATIONS
52. As alleged herein, Defendants acted with scienter in that Defendants knew that
the public documents and statements issued or disseminated in the name of the Company were
materially false and/or misleading; knew that such statements or documents would be issued or
disseminated to the investing public; and knowingly and substantially participated or acquiesced

in the issuance or dissemination of such statements or documents as primary violations of the

 

federal securities laws As set forth elsewhere herein in detail, Def`endants, by virtue of their
receipt of information reflecting the true facts regarding iDreamSky, his/her control over, and/or
receipt and/or modification of iDreamSky’s allegedly materially misleading misstatements
and/or their associations with the Company which made them privy to confidential proprietary
information concerning iDreamSky, participated in the fraudulent scheme alleged herein.

APPLICABILITY OF PRESUMPTION OF RELIANCE
(FRAUD-ON~THE-l\/IARKET DOCTRINE)

53. The market for iDreamSky’s securities was open, well~developed and efficient at
all relevant times As a result of the materially false and/or misleading statements and/or failures
to disclose, iDreamSky’s securities traded at artificially inflated prices during the Class Period.
On September 8, 2014, the Company’s stock closed at a Class Period high of $23.66 per share.
Plaintiff and other members of the Class purchased or otherwise acquired the Company’s
securities relying upon the integrity of the market price of iDreamSky’s securities and market
information relating to iDreamSky, and have been damaged thereby.

54. During the Class Period, the artificial inflation of iDreamSky’s stock was caused
by the material misrepresentations and/or omissions particularized in this Complaint causing the
damages sustained by Plaintiff and other members of the Class As described herein, during the

Class Period, Defendants made or caused to be made a series of materially false and/or

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misleading statements about iDreamSky’s business prospects and operations l`hese material
misstatements andr'or omissions created an unrealistically positive assessment of iDreamSky and
its business operations and prospects thus causing the price of the Company’s securities to be
artificially inflated at all relevant times and when disclosed, negatively affected the value of the
Company stock. Defendants’ materially false and/or misleading statements during the Class

Period resulted in Plaintiff and other members of the Class purchasing the Company’s securities

 

at such artificially inflated prices and each of them has been damaged as a result.
55. At all relevant times the market for iDreamSky’s securities was an efficient
market for the following reasons among others:

(a) iDreamSky stock met the requirements for listing, and was listed and
actively traded on the NASDAQ, a highly efficient and automated market;

{b) As a regulated issuer, iDreamSky filed periodic public reports with the
SEC and/or the NASDAQ;

(c) iDreamSky regularly communicated with public investors via established
market communication mechanisms including through regular dissemination of press releases
on the national circuits of major newswire services and through other wide-ranging public
disclosures such as communications with the financial press and other similar reporting services
and/or

(d) iDreamSky was followed by securities analysts employed by brokerage
firms who wrote reports about the Company, and these reports were distributed to the sales force
and certain customers of their respective brokerage firms Each of these reports was publicly

available and entered the public marketplace

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56. As a result of the foregoing, the market for iDreamSky’s securities promptly
digested current information regarding iDreamSky from all publicly available sources and
rehected such information in iDreamSky’s stock price Under these circumstances all purchasers
of iDreamSky’s securities during the Class Period suffered similar injury through their purchase
of iDreamSky’s securities at artificially inflated prices and a presumption of reliance applies

NO SAFE HARBOR

 

57. The statutory safe harbor provided for forward-looking statements under certain
circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.
The statements alleged to be false and misleading herein all relate to then-existing facts and
conditions ln addition, to the extent certain of the statements alleged to be false may be
characterized as forward looking, they were not identified as “forward-looking statements” when
made and there were no meaningful cautionary statements identifying important factors that
could cause actual results to differ materially from those in the purportedly forward-looking
statements ln the alternative to the extent that the statutory safe harbor is determined to apply to
any forward-looking statements pleaded herein, Defendants are liable for those false forward-
looking statements because at the time each of those forward-looking statements was made, the
speaker had actual knowledge that the forward-looking statement was materially false or
misleading, and/or the forward-looking statement was authorized or approved by an executive
officer of iDreamSky who knew that the statement was false when made

FIRST CLAIM
Violation of Section 11 of The Securities Act
(Against the Section 11 Defendants)

58. Plaintiff repeats and realleges each and every allegation set forth above, except

any allegation of fraud, recklessness or intentional misconduct

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59. This Count is brought pursuant to Section ll of the Securities Act, l5 U.S.C.
§?'/’k, on behalf of the Class, against the Section ll Defendants

oil The Registration Statement for the lPO was inaccurate and misleading, contained
untrue statements of material facts, omitted to state other facts necessary to make the statements
made not misleading, and omitted to state material facts required to be stated therein.

61. iDreamSky is the registrant for the lPO. The Section ll Defendants named herein

 

were responsible for the contents and dissemination of the Registration Statement

62. As issuer of the shares, iDreamSky is strictly liable to Plaintiff and the Class for
the misstatements and omissions

63. None of the Section ll Defendants named herein made a reasonable investigation
or possessed reasonable grounds for the belief that the statements contained in the Registration
Statement were true and without omissions of any material facts and were not misleading

64. By reasons of the conduct herein alleged, each Section ll Defendant violated,
and/or controlled a person who violated Section ll of the Securities Act.

65. Plaintiff acquired iDreamSky shares pursuant and/or traceable to the Registration
Statement for the lPO.

66. Plaintiff and the Class have sustained damages The value of iDreamSky

common stock has declined substantially subsequent to and due to the Section ll Defendants’

 

violations
SECOND CLAIM
Violation of Section 15 of The Securities Act
(Against the Section 11 Individual Defendants)
67. Plaintiff repeats and realleges each and every allegation set forth above, except

any allegation of fraud, recklessness or intentional misconduct

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68. This count is asserted against the Section ll individual Defendants and is based
upon Section 15 of the Securities Act.

69. "fhe Section ll individual Defendants, by virtue of their offices, directorship, and
specific acts werer at the time of the wrongs alleged herein and as set forth herein, controlling
persons of iDreamSky within the meaning of Section l5 of the Securities Act. The Section ll

individual Defendants had the power and influence and exercised the same to cause iDreamSky

 

to engage in the acts described herein.

70. The Section ll lndividual Defendants’ positions made them privy to and provided
them with actual knowledge of the material facts concealed from Plaintiff and the Class.

7l. By virtue of the conduct alleged herein, the Section ll lndividual Defendants are
liable for the aforesaid wrongful conduct and are liable to Plaintiff and the Class for damages

suffered

THIRD CLAIM
Violation of Section 10(b) of
The Exchange Act and Rule 10b-5
Promulgated Thereunder Against the Company and the Individual Defendants

72. Plaintiff repeats and realleges each and every allegation contained above as if
fully set forth herein.
73. During the Class Period, Defendants carried out a plan, scheme and course of

conduct which was intended to and, throughout the Class Period, did: (i) deceive the investing
public, including Plaintiff and other Class members, as alleged herein; and (ii) cause Plaintiff and
other members of the Class to purchase iDreamSky’s securities at artificially inflated prices ln
furtherance of this unlawful scheme, plan and course of conduct, defendants, and each of them,

took the actions set forth herein.

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74. Defendants (i) employed devices, schemes, and artifices to defraud; (ii) made
untrue statements of material fact and/or omitted to state material facts necessary to make the
statements not misleading; and (iii) engaged in acts, practices, and a course of business which
operated as a fraud and deceit upon the purchasers of the Company’s securities in an effort to
maintain artificially high market prices for iDreamSky’s securities in violation of Section lO(b)

of the Exchange Act and Rule l0b-5. All Defendants are sued either as primary participants in

 

the wrongful and illegal conduct charged herein or as controlling persons as alleged below.

75. Defendants, individually and in concert, directly and indirectly, by the use, means
or instrumentalities of interstate commerce and/or of the mails, engaged and participated in a
continuous course of conduct to conceal adverse material information about iDreamSky’s
financial well-being and prospects, as specified herein

76. These defendants employed devices, schemes and artifices to defraud, while in
possession of material adverse non-public information and engaged in acts, practices, and a
course of conduct as alleged herein in an effort to assure investors of iDreamSky’s value and
performance and continued substantial growth, which included the making of, or the
participation in the making of, untrue statements of material facts and/or omitting to state
material facts necessary in order to make the statements made about iDreamSky and its business
operations and nature prospects in light of the circumstances under which they were made, not
misleading, as set forth more particularly herein, and engaged in transactions, practices and a
course of business which operated as a fraud and deceit upon the purchasers of the Company’s
securities during the Class Period.

77. Each of the lndividual Defendants’ primary liability, and controlling person

liability, arises from the following facts: (i) the lndividual Defendants were high-level executives

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and/br directors at the Company during the Class Period and members of the Company’s
management team or had control thereof; (ii) each of these defendants, by virtue of their
responsibilities and activities as a senior officer and/or director of the Company, was privy to and
participated in the creation, development and reporting of the Company’s internal budgets, plans,
projections and/or reports; (iii) each of these defendants enjoyed significant personal contact and

familiarity with the other defendants and was advised of, and had access to, other members of the

 

Company’s management team, internal reports and other data and information about the
Company’s finances, operations, and sales at all relevant times; and (iv) each of these defendants
was aware of the Company’s dissemination of information to the investing public which they
knew and/or recklessly disregarded was materially false and misleading

78. The defendants had actual knowledge of the misrepresentations and/or omissions
of material facts set forth herein, or acted with reckless disregard for the truth in that they failed
to ascertain and to disclose such facts, even though such facts were available to them. Such
defendants’ material misrepresentations and/or omissions were done knowingly or recklessly and
for the purpose and effect of concealing iDreamSky’s financial well-being and prospects from
the investing public and supporting the artificially inflated price of its securities As
demonstrated by Defendants’ overstatements and/or misstatements of the Company’s business,
operations, financial well-being, and prospects throughout the Class Period, Defendants, if they
did not have actual knowledge of the misrepresentations and/or omissions alleged, were reckless
in failing to obtain such knowledge by deliberately refraining from taking those steps necessary
to discover whether those statements were false or misleading

79. As a result of the dissemination of the materially false and/or misleading

information and/or failure to disclose material facts, as set forth above, the market price of

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iDreamSky’s securities was artificially inflated during the Class Period. ln ignorance of the fact
that market prices of the Company’s securities were artificially inflated, and relying directly or
indirectly on the false and misleading statements made by Defendants, or upon the integrity of
the market in which the securities trades, and/or in the absence of material adverse information
that was known to or recklessly disregarded by Defendants, but not disclosed in public

statements by Defendants during the Class Period, Plaintiff and the other members of the Class

 

acquired iDreamSky’s securities during the Class Period at artificially high prices and were
damaged thereby.

80. At the time of said misrepresentations and/or omissions, Plaintiff and other
members of the Class were ignorant of their falsity, and believed them to be true. Had Plaintiff
and the other members of the Class and the marketplace known the truth regarding the problems
that iDreamSky was experiencing, which were not disclosed by Defendants, Plaintiff and other
members of the Class would not have purchased or otherwise acquired their iDreamSky
securities, or, if they had acquired such securities during the Class Period, they would not have
done so at the artificially inflated prices which they paid.

8l. By virtue of the foregoing, Defendants have violated Section l()(b) of the
Exchange Act and Rule 10b-5 promulgated thereunder.

82. As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and
the other members of the Class suffered damages in connection with their respective purchases
and sales of the Company’s securities during the Class Period.

F()URTH CLAIM

Violation of Section ZO(a) of
The Exchange Act Against the lndividual Defendants

83. Plaintiff repeats and realleges each and every allegation contained above as if
fully set forth herein.

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84. The lndividual Defendants acted as controlling persons of iDreamSky within the
meaning of Section ZO(a) of the Exchange Act as alleged herein. By virtue of their high-level
positions, and their ownership and contractual rights, participation in and/or awareness of the
Company’s operations and/or intimate knowledge of the false financial statements filed by the
Company with the SEC and disseminated to the investing public, the individual Defendants had

the power to influence and control and did influence and control, directly or indirectly, the

 

decision-making of the Company, including the content and dissemination of the various
statements which Plaintiff contends are false and misleading The individual Defendants were
provided with or had unlimited access to copies of the Company’s reports, press releases, public
filings and other statements alleged by Plaintiff to be misleading prior to and/or shortly after
these statements were issued and had the ability to prevent the issuance of the statements or
cause the statements to be corrected

85. ln particular, each of these Defendants had direct and supervisory involvement in
the day-to-day operations of the Company and, therefore, is presumed to have had the power to
control or influence the particular transactions giving rise to the securities violations as alleged
herein, and exercised the same.

86. As set forth above, iDreamSky and the lndividual Defendants each violated
Section lO(b) and Rule lOb-5 by their acts and/or omissions as alleged in this Complaint. By
virtue of their positions as controlling persons, the lndividual Defendants are liable pursuant to
Section ZO(a) of the Exchange Act. As a direct and proximate result of Defendants’ wrongful
conduct, Plaintiff and other members of the Class suffered damages in connection with their

purchases of the Company’s securities during the Class Period.

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PRAYER FOR RELIEF

WiiEi`~§Elii')lRtflz Plaintiff prays for relief and judgment as fbilows:

e:a) Determining that this action is a proper class action under Ruie 23 of the Federal
Rules of Civil Procedure;

(b} Awarding compensatory damages in favor of Plaintiff and the other Class
members against all defendants jointly and severally27 for all damages sustained as a result of
Defendants’ wrongdoing in an amount to be proven at trial, including interest thereon;

(c) Awarding Plaintiff and the Class their reasonable costs and expenses incurred in
this action, including counsel fees and expert fees; and

(d) Such other and further relief as the Court may deem just and proper.

J'URY TR!AL DEMANDED

Plaintiff hereby demands a trial by jury.

DATED: April 2, 20l5

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